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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

SONJA EDDINGS BROWN,

      Plaintiff,

v.                                                          2:24-cv-369-JLB-NPM

PARKER J. COLLIER,

      Defendant.


                   ORDER GRANTING SPECIAL ADMISSION
      Before the court are unopposed motions for special admission of Brendan

Carroll, Viola Trebicka, Crystal Nix-Hines, Michael S. Nadel, Amanda N. Smith,

and Jennifer B. Routh. Having satisfied the requirements of Local Rule 2.01(c), the

court finds Brendan Carroll, Viola Trebicka, and Crystal Nix-Hines may appear

specially on behalf of plaintiff Sonja Eddings Brown, and Michael S. Nadel,

Amanda N. Smith, and Jennifer B. Routh may appear specifically on behalf of

defendant Parker J. Collier. Accordingly, the motions for special admission (Docs.

14, 15, 16, 18, 19, 20) are GRANTED.

      Unless non-resident attorneys Carroll, Trebicka, Nix-Hines, Nadel, Smith,

and Routh already have CM/ECF filing credentials for the Middle District of Florida,

they shall submit an E-Filer Registration Form within fourteen days of the date of
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this order. Failure to complete this step may cause the court to revoke its permission

to appear specially without further notice.

      Counsel are reminded that any attorney appearing in this court “must remain

familiar with, and is bound by, the rules governing the professional conduct of a

member of The Florida Bar.” M.D. Fla. R. 2.01(e). By virtue of their special

admission, attorneys Carroll, Trebicka, Nix-Hines, Nadel, Smith, and Routh are also

deemed to be familiar with 28 U.S.C. § 1927. See M.D. Fla. R. 2.01(b)(1)(C), (c)(5).

      Pursuant to In re: Possession and Use of Personal Electronic Devices in

Federal Courthouses in the Middle District of Florida, No. 6:13-mc-94-Orl-22, an

attorney permitted to appear specially by this order may—subject to inspection by

Court Security Officers—bring personal electronic devices beyond the courthouse

security checkpoint by presenting this order.

                                               ORDERED on May 30, 2024.




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